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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PACE-O-MATIC, INC.,                           )
                                              )
                       Plaintiff,             )       No. 1:20-cv-292-JPW
                                              )
       v.                                     )       Judge Wilson
                                              )
ECKERT SEAMANS CHERIN &                       )
MELLOTT, LLC, et al.,                         )
                                              )
                       Defendants.            )

PLAINTIFF’S OMNIBUS OPPOSITION TO MOTIONS TO RECONSIDER OR, IN THE
  ALTERNATIVE, CERTIFY UNDER 28 U.S.C. § 1292(b) FILED BY DEFENDANTS;
GREENWOOD GAMING AND ENTERTAINMENT, INC.; AND HAWKE MCKEON &
                           SNISCAK, LLP

       On July 5, 2022, the Court entered an order (the “July 5 Order”) addressing pending

discovery disputes and the application of judicial estoppel. See ECF No. 223. Among other things,

the Court ordered the production of certain documents by July 26, 2022. Id. On July 19, 2022,

Defendants; Greenwood Gaming and Entertainment, Inc. (“Parx”); and Hawke McKeon &

Sniscak, LLP (“Hawke McKeon”) all filed motions requesting that the Court reconsider the July

5 Order or, in the alternative, certify the July 5 Order for interlocutory appeal under 28 U.S.C.

§ 1292(b). See ECF Nos. 230 (Defendants); 232 (Parx); 234 (Hawke McKeon).

       Because the motions filed by Defendants, Parx, and Hawke McKeon (together, “Movants”)

raise substantially similar issues, in an effort to avoid burdening the Court with duplicative

briefing, Plaintiff Pace-O-Matic, Inc. (“POM”) submits this combined opposition to Movants’

pending motions. For the reasons stated below, the Court should deny each of the Movants’ motion

for reconsideration or, in the alternative, for certification under 28 U.S.C. § 1292(b).




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        I.        The Court Should Deny the Movants’ Requests for Reconsideration.

        “A party seeking reconsideration of a district court’s order must show either (1) an

intervening change in the controlling law; (2) the availability of new evidence that was not

available when the court issued its prior order; or (3) the need to correct a clear error of law or fact

or to prevent manifest injustice.” Epsilon Energy USA, Inc. v. Chesapeake Appalachia, LLC, No.

No. 1:21-cv-658-JPW, 2022 WL 178816, at *6 (M.D. Pa. Jan. 18, 2022) (quotation omitted).

“Motions for reconsideration cannot be used to reargue issues that the court has already considered

and disposed of.” Id. (quotation omitted). “Additionally, a motion for reconsideration may not be

used . . . to raise new arguments that could have been made in support of the original motion.” Id.

(quotation omitted). “A mere disagreement with a court’s legal conclusion is not a sufficient basis

for reconsideration.” Id. (quotation omitted).

        Each of the Movants has requested that the Court reconsider its July 5 Order. For the

reasons stated below, the Court should deny those requests.

             A.      The Court should deny Defendants’ request for reconsideration.

        In their Motion for Reconsideration, Defendants do not contest the application of judicial

estoppel. Instead, they solely contest the remedy that the Court has applied, claiming that the

Court should “estop Eckert from denying POM’s allegation that it has represented a party adverse

to POM in litigation” rather than compelling disclosure of the documents at issue in the Court’s

July 5, 2022 Order. 1 In particular, Defendants contend that a remedy for Defendants’ misconduct

should not affect the privilege of Defendants’ client, Parx. This argument is both procedurally

improper and incorrect on the merits.



1
  Neither Defendants nor any other Movant claims (or reasonably could claim) that their request
for reconsideration rests on an intervening change in law or new evidence that was not available
when the Court issued its July 5 Order.
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       On the procedural side, Defendants cannot raise this argument for the first time in a motion

for reconsideration. Defendants filed four briefs on the issue of judicial estoppel. See ECF Nos.

129; 134; 169; 193. Nowhere in those four briefs did Defendants argue (even in the alternative)

for the sanction they now propose. Presumably this reflected a strategic choice by Defendants that

their arguments would be stronger if they focused exclusively on the purported inapplicability of

judicial estoppel. That strategy having failed, Defendants cannot belatedly take a new tack in their

motion for reconsideration. A party cannot raise a new argument for the first time in a motion for

reconsideration. See, e.g., Epsilon Energy, 2022 WL 178816, at *6. Of course, if Defendants had

presented this argument in their prior briefing, their motion to consider would still be improper,

because “[m]otions for reconsideration cannot be used to reargue issues that the court has already

considered and disposed of.” Id. (quotation omitted). The Court should deny Defendants’ motion

on procedural grounds alone. See id.

       Defendants’ newfound argument is also wrong on the merits. Defendants seemingly claim

that Parx is a wholly innocent third party. But that is not what the Court held. The Magistrate

Judge explained—and the Court agreed—that Parx has taken inconsistent positions, in bad faith,

on the issue of whether Defendants served as counsel for Parx in the Commonwealth Court Case.

See ECF No. 166, at 20-21; ECF No. 222 at 12 n.7. For that reason, the Magistrate Judge and the

Court found that judicial estoppel applies directly against Parx. The Court did not apply any

sanction against Parx due solely to misconduct by Eckert. Thus, the premise underlying the

entirety of Defendants’ new argument—that an innocent non-party should not suffer solely due to

misconduct by Defendants—is inaccurate.         The Court should deny Defendants’ motion to

reconsider.




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       In addition, the alternate sanction now proposed by Defendants would not suffice to

address their misconduct. Defendants now urge the Court to “estop Eckert from denying POM’s

allegation that it has represented a party adverse to POM in litigation” rather than requiring

production of the documents at issue. However, the facts that Defendants sought to conceal

through their repeated misrepresentations to the Court (and which POM understands to be reflected

in the documents at issue) go far beyond mere “represent[ing] a party adverse to POM in

litigation.” For example, Defendants sought to conceal the fact that they had a leading and

extensive role in the Commonwealth Court Case, “quarterback[ing]” the representation of Parx

that was directly adverse to POM and that involved a frontal attack on the core of POM’s business

model. See ECF No. 166, at 22-28. Defendants sought to conceal that they arranged for another

firm (Hawke McKeon) to serve as the sole counsel of record for the purpose of hiding Defendants’

involvement in the case from POM. Id. at 28-29. Defendants sought to conceal that they engaged

in these actions “with full knowledge that the conflict asserted by POM precluded [their] active

and continuing representation of Parx in the Commonwealth Court litigation.”             Id. at 29.

Defendants sought to use their bad-faith assertion of inconsistent positions to conceal all of these

key facts, as well as perhaps others that appear in the documents submitted for in camera review.

An alternate remedy would not be properly tailored to addressing the harm caused by Defendants’

misconduct unless it also encompassed the full range of material facts that Defendants sought to

conceal. Moreover, this discovery dispute—which has been ongoing for more than a year—arose

because of the inconsistent positions advanced in bad faith by Defendants. An alternate remedy

would also need to require Defendants to pay all fees incurred by POM in connection with the

underlying discovery dispute. Defendants’ proposed remedy does not include any of these

necessary provisions. A motion to reconsider does not constitute an appropriate vehicle to craft a



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carefully tailored remedy. Defendants should have faced the question of tailoring head-on in their

prior briefing. They chose not to do so, and they cannot complain at this late hour that the remedy

selected by the Court is not tailored to their liking. The Court should deny Defendants’ motion to

reconsider.

              B.   The Court should deny Parx’s request for reconsideration.

       Parx claims that the Court should reconsider its July 5, 2022 Order due to three purported

“manifest errors of law and fact.” ECF No. 233, at 2. Parx’s argument is procedurally improper.

“Motions for reconsideration cannot be used to reargue issues that the court has already considered

and disposed of.” Epsilon Energy, 2022 WL 178816, at *6 (quotation omitted). “A mere

disagreement with a court’s legal conclusion is not a sufficient basis for reconsideration.” Id.

(quotation omitted).

       Here, Parx’s motion for reconsideration rests on three arguments, each of which Parx has

presented previously, and each of which was rejected by the Magistrate Judge and the Court. First,

Parx claims that judicial estoppel cannot operate as an exception or waiver of attorney-client

privilege. Parx presented this argument to both the Magistrate Judge and the Court. See, e.g., ECF

Nos. 130, at 10; 171, at 12-13. Parx cannot use a motion for reconsideration to raise this

argument—twice rejected by federal judges—for a third time. Epsilon Energy, 2022 WL 178816,

at *6. Moreover, this argument misunderstands the Court’s analysis. The Court simply did not

treat judicial estoppel as a waiver or exception to privilege. Instead, the Court began with the

foundational principle that “the attorney-client relationship applies only if an attorney-client

relationship exists.” ECF No. 222, at 10 (quoting ECF No. 166, at 17-18). Due to Parx’s and

Defendants’ bad-faith inconsistent positions, the Court applied judicial estoppel, preventing them

from asserting the existence of an attorney-client relationship between Defendants and Parx for



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purposes of the Commonwealth Case. And without evidence establishing the existence of an

attorney-client relationship, there can be no attorney-client privilege. There is nothing novel or

controversial about this approach. Compare, e.g., In re Berks Behavioral Health LLC, 500 B.R.

711, 721 (E.D. Pa. Bankr. 2013) (applying judicial estoppel to prevent party from claiming that an

individual was agent of party, which in turn prevented party from asserting privilege). And where

privilege has not been established, questions of waiver or exceptions simply never arise.

       Second, Parx argues that it did not take any inconsistent positions warranting the

application of judicial estoppel. Parx has advanced this argument previously. See ECF Nos. 130,

at 13; 171, at 18-20. And, as described above, the Magistrate Judge’s and the Court’s analysis

have rejected this argument. See ECF No. 166, at 20-21; ECF No. 222 at 12 n.7. Parx cannot use

a motion to reconsider to raise this previously rejected argument yet again. Epsilon Energy, 2022

WL 178816, at *6.

       Third, Parx claims that the July 5 Order impermissibly punishes Parx for the misconduct

of others. Parx has advanced this argument previously, see ECF Nos. 130, at 16; 171, at 23-24,

and those arguments have been unsuccessful. Moreover, as described above, this argument

misunderstands the Court’s analysis. The Court has applied judicial estoppel against Parx based

on Parx’s bad-faith inconsistent positions. See ECF No. 166, at 20-21; ECF No. 222 at 12 n.7. In

addition, to the extent that Parx contends that some other sanction should apply to remedy the

misconduct of others, the particular sanction urged by the Movants is inadequate for the reasons

described above.

       For the foregoing reasons, the Court should deny Parx’s request for reconsideration.




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             C.      The Court should deny Hawke McKeon’s request for reconsideration.

       Hawke McKeon presents two arguments in its motion for reconsideration. First, Hawke

McKeon argues that judicial estoppel cannot operate as an exception to or waiver of the attorney-

client privilege. Second, Hawke McKeon claims that the Court should adopt an alternate remedy,

namely, the remedy that Defendants have embraced for the first time in their motion for

reconsideration. Hawke McKeon did not raise either of these arguments in its four prior briefs

addressing judicial estoppel. See ECF Nos. 128; 137; 173; 194. “[A] motion for reconsideration

may not be used . . . to raise new arguments that could have been made in support of the original

motion.” Epsilon Energy, 2022 WL 178816, at *6 (quotation omitted). Thus, Hawke McKeon

cannot raise these arguments for the first time in a motion for reconsideration. Moreover, for the

reasons discussed above, these arguments lack merit on their own terms. The Court should deny

Hawke McKeon’s request for reconsideration.

       II.        The Court Should Not Certify Its July 5 Order for Interlocutory Appeal
                  Pursuant to 28 U.S.C. § 1292(b).

       In the alternative, each of the Movants asks the Court to certify its July 5 Order for

interlocutory appeal pursuant to 28 U.S.C. § 1292(b). Section 1292(b) authorizes district courts

to certify a non-final order for interlocutory appeal if the “order involves a controlling question of

law as to which there is substantial ground for difference of opinion and . . . an immediate appeal

from the order may materially advance the ultimate termination of the litigation.” 28 U.S.C.

§ 1292(b). “Thus, certification under § 1292(b) is only proper when (1) the issue involve[s] a

controlling question of law; (2) as to which there are substantial grounds for difference of opinion;

and (3) an immediate appeal of the order may materially advance the ultimate termination of the

litigation.” Lower Susquehanna Riverkeeper v. Keystone Protein Co., No. 1:19-cv-1307-JPW,

2021 WL 2778563, at *2 (M.D. Pa. July 2, 2021) (quotation omitted).

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       Here, none of the Movants meaningfully argues that any of these requirements are satisfied,

let alone all of them. As described below, the Court’s July 5 Order does not satisfy any of these

requirements, and thus the Court should not certify the Order for interlocutory appeal.

           A.      The July 5 Order does not present a controlling question of law.

       While using slightly different wording, Movants all contend that the July 5 Order presents

the following issue warranting certification: “whether invoking the doctrine of judicial estoppel to

order the disclosure of a non-party’s attorney-client privileged communications is warranted based

upon prior inconsistent statements of that non-party’s counsel.” ECF No. 231, at 9 (Defendants’

formulation); compare ECF Nos. 232-2, at 2 (Parx’s formulation); 234-3, at 2 (Hawke McKeon’s

formulation). A court may certify an order for interlocutory appeal only if the order presents a

“controlling question of law.” 28 U.S.C. § 1292(b). “An order presents a controlling question of

law if (1) an incorrect disposition would constitute reversible error if presented on final appeal; or

(2) there is a question presented by the order that is serious to the conduct of the litigation either

practically or legally.” Lower Susquehanna, 2021 WL 2778563, at *2 (quotation omitted).

Movants have not explained how the issue that they have framed (or any other issue) constitutes a

controlling question of law under this standard. Several factors demonstrate that the July 5 Order

does not present any controlling question of law.

       First, the Movants’ argument rests on a purported issue that the Court’s July 5 Order

simply did not address. As described above, the Court applied judicial estoppel against Parx based

on Parx’s own bad-faith, inconsistent representations. See ECF No. 166, at 20-21; ECF No. 222

at 12 n.7. The Court did not impose a sanction against Parx solely based on Defendants’ conduct. 2



2
 POM understands the purported question of law framed by Movants to refer to Parx being bound
by Defendants’ conduct. See ECF No. 233, at 3 (Parx motion) (framing proposed appellate issue
as follows: “Parx requests that [the Court] certify the order for appeal so the Third Circuit may
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Thus, the issue framed by the Movants presents a wholly hypothetical question that the July 5

Order did not address. Such questions do not constitute controlling questions of law within the

meaning of § 1292(b). See, e.g., Orgain, Inc. v. Northern Innovations Holding Corp., 8:18-cv-

1253, 2021 WL 6103528, at *3 (C.D. Cal. Sept. 29, 2021).

       Second, the discretionary and fact-specific nature of judicial estoppel generally make it

inappropriate for certification under § 1292(b). “Judicial estoppel is a fact-specific, equitable

doctrine, applied at courts’ discretion.” In re Kane, 628 F.3d 631, 638 (3d Cir. 2010). “A legal

question of the type envisioned in § 1292(b), however, generally does not include matters within

the discretion of the trial court.” In re City of Memphis, 293 F.3d 345, 351 (6th Cir. 2002); see

also, e.g., Litgo New Jersey, Inc. v. Martin, Civ. No. 06-2891, 2011 WL 1134676, at *4 (D.N.J.

Mar. 25, 2011) (holding that “the equitable and discretionary nature of [the] rulings [at issue]

makes them inappropriate for interlocutory review”). Courts have denied certification of orders

addressing judicial estoppel for precisely this reason. See, e.g., Tucker v. Closure Sys. Int’l, No.




address the novel application of judicial estoppel to justify the disclosure of a non-party’s
privileged communications based on the statements of its law firm as a defendant in litigation with
another client.” (emphasis added)). POM does not understand Movants to question whether Parx
can be bound by representations made by Hawke McKeon in the Commonwealth Court Case,
where Hawke McKeon served as Parx’s counsel of record. If that were Movants’ argument, it
would be entirely meritless. It is well-established that an attorney’s statements (either in court
filings or at hearings) during a prior proceeding can give rise to judicial estoppel against that
attorney’s client in a later proceeding. See, e.g., Hall v. GE Plastic Pacific PTE Ltd., 327 F.3d
391, 396 (5th Cir. 2003) (collecting cases); White v. Wyndham Vacation Ownership, Inc., 617 F.3d
472, 483 (6th Cir. 2010) (applying judicial estoppel because the court would not “deviate from the
general rule set forth in [Link v. Wabash R. Co., 370 U.S. 626, 633-34 (1962)] that litigants are
bound by the actions of their attorneys”); cf. Link, 370 U.S. at 633-34 (“There is certainly no merit
to the contention that dismissal of petitioner’s claim because of his counsel's unexcused conduct
imposes an unjust penalty on the client. Petitioner voluntarily chose this attorney as his
representative in the action, and he cannot now avoid the consequences of the acts or omissions of
this freely selected agent. Any other notion would be wholly inconsistent with our system of
representative litigation, in which each party is deemed bound by the acts of his lawyer-agent and
is considered to have notice of all facts, notice of which can be charged upon the attorney.”).
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1:10-cv-1476, 2012 WL 1997866, at *3 (S.D. Ind. June 4, 2012) (finding no controlling question

of law because, among other things, “whether to apply judicial estoppel is a matter left to the

court’s discretion”); Dos Santos v. Bell Helicopter Textron, Inc., 651 F. Supp. 2d 550, 562 (N.D.

Tex. 2009) (“[T]he Court’s ruling on judicial estoppel is within the Court’s discretion and does

not warrant an interlocutory appeal.”). Thus, no controlling question of law exists here.

       Similarly, orders that involve factual issues—even mixed questions of law and fact—

ordinarily do not support certification under § 1292(b). See, e.g., Johnson v. Alldredge, 488 F.2d

820, 822 (3d Cir. 1973) (indicating that an issue would be inappropriate for interlocutory appeal if

it “comprehends factual as well as legal matters”); McCoy v. Favata, No. 17-1046, 2020 WL

5891898, at *2 (D. Del. Oct. 5, 2020) (“An order involves a ‘controlling question of law’ when it

concerns a question of law, as opposed to one of fact or a mixed question of law and fact.”

(quotation omitted)). As noted above, “[j]udicial estoppel is fact-specific.” In re Kane, 628 F.3d

at 638. The heavily fact-dependent nature of judicial estoppel also makes it improper for

interlocutory review. Thus, no controlling question of law exists here.

       Third, nothing in the July 5 Order “is serious to the conduct of the litigation either

practically or legally.” Lower Susquehanna, 2021 WL 2778563, at *2 (quotation omitted). Here,

the documents at issue could incrementally inform discovery and may well be presented at trial.

But reversal of the July 5 Order would not impact whether this litigation continues, which claims

proceed to trial, or the scope of damages available at trial. “A question is not controlling if the

litigation would necessarily continue, regardless of how the question were decided.” RFP &

RESCAP Liquidating Trust Litig., No. 13-3451, 2016 WL 3410332, at *3 (D. Minn. June 20,

2016). The July 5 Order does not present a controlling question of law, and thus certification under

§ 1292(b) is improper.



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            B.      There are not substantial grounds for difference of opinion regarding any
                    issue question of law presented by the July 5 Order.

         A controlling question of law can justify interlocutory appeal only if “there is substantial

ground for difference of opinion.” 28 U.S.C. § 1292(b). “Substantial grounds for difference of

opinion exist when the matter involves one or more difficult and pivotal questions of law not settled

by controlling authority.” Lower Susquehanna, 2021 WL 2778563, at *2 (quotation omitted).

“Conflicting interpretations of the issue from numerous courts is the “clearest evidence” that this

factor is satisfied.” Id. (quotation omitted). “[T]he fact that the court’s decisions were neither

easy nor obvious is not sufficient reason to certify an immediate interlocutory appeal.” EPIC v.

Pac. Lumber Co., No. C-01-2821 2004 WL 838160, at *4 (N.D. Cal. April 19, 2004). “[A] movant

must do more than show continued disagreement with the trial court’s decision.” Graham v.

Mukasey, 608 F. Supp.2d 56, 57 (D.D.C. 2009).

         Here, Movants provide no basis whatsoever for concluding that substantial grounds exist

for differing opinions about the July 5 Order. Movants do not identify any authority that conflicts

with the Court’s analysis. Defendants also do not point to any “questions of law not settled by

controlling authority.”    Lower Susquehanna, 2021 WL 2778563, at *2 (quotation omitted)

(emphasis added). To the contrary, the applicable legal principles appear to be clear. Instead, the

disputes here involve the application of those generally applicable legal principles to the specific

facts of this case. Such disputes are not appropriate for interlocutory review. See, e.g., Ussery v.

Allstate Fire & Casualty Ins. Co., 5:13-cv-83, 2016 WL 9131968, at *1 (M.D. Ga. Mar. 31, 2016)

(declining to certify an order applying judicial estoppel where party disputed application of general

legal principles to facts of case, explaining that “the term ‘question of law’ does not mean the

application of settled law to fact”). Thus, there is no basis for interlocutory review of the July 5

Order.

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           C.      An immediate appeal of the July 5 Order would not materially advance the
                   termination of this litigation.

       It is not enough for an order to present a controlling question of law about which there are

substantial grounds for difference of opinion. To justify certification, interlocutory review of that

controlling question of law also must “materially advance the ultimate termination of the

litigation.” 28 U.S.C. § 1292(b). “[T]he question of whether litigation would be materially

advanced hinges on (1) whether the need for trial would be eliminated; (2) whether the trial would

be simplified by the elimination of complex issues; and (3) whether discovery could be conducted

more expeditiously and at less expense to the parties.” Lower Susquehanna, 2021 WL 2778563,

at *2 (quotation omitted). None of these considerations support certification here, and Movants

do not claim otherwise.

       First, interlocutory review of the Court’s July 5 Order will not eliminate the need for trial.

The Court’s July 5 Order merely ordered the production of certain documents. It did not address

the merits of any of POM’s claims or Defendants’ defenses. At most, reversal of the July 5 Order

might incrementally affect which exhibits are presented at trial. But the Order has no effect on

whether trial will be necessary, and thus an interlocutory appeal would not materially advance the

termination of this litigation. See Union Pac. R.R. Co. v. ConAgra Poultry Co., 189 F. App’x 576,

579 (8th Cir. 2006) (per curiam) (refusing to review discovery order certified under § 1292(b),

because “[a] review of the discovery order will not resolve any of the substantive claims or

eliminate the need for trial”).

       Second, interlocutory review of the Court’s July 5 Order will not eliminate any complex

issues at trial. Interlocutory review will not impact what claims are presented at trial, what issues

must be resolved by the jury and the Court, or what witnesses testify at trial. At most, reversal of




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the July 5 Order will incrementally impact which exhibits are presented at trial. Those minimal

impacts do not warrant the substantial burdens and delays associated with interlocutory review.

       Third, interlocutory review of the July 5 Order will not streamline discovery or reduce

expenses to the parties. To the contrary, interlocutory review will simply delay discovery in this

case and force the parties to pay substantial legal fees for an interlocutory appeal that could be

entirely unnecessary depending on the final resolution of the case.         There is no basis for

interlocutory review of the July 5 Order.

           D.      The lone case cited by Movants that certified an issue under § 1292(b) does
                   not support their position.

       As noted above, none of the Movants offers any meaningful argument regarding the

requirements of § 1292(b). However, Defendants do cite one decision by a magistrate judge in the

Eastern District of Pennsylvania. See Henriquez-Disla v. Allstate Prop. & Cas. Ins. Co., Case No.

2:13-cv-284, 2014 WL 3887750 (E.D. Pa. Aug. 7, 2014). It is true that the magistrate judge in

Henriquez-Disla certified a discovery order under § 1292(b). However, that is not the end of the

story. Even where a district court certifies an order under § 1292(b), the Court of Appeals may

deny the request for interlocutory review. See 28 U.S.C. § 1292(b). In Henriquez-Disla, the Third

Circuit denied the request for interlocutory review. See Henriquez-Disla v. Allstate Prop. & Cas.

Ins. Co., No. 14-8108 (3d Cir.), Oct. 8, 2014 Order. To the extent that Defendants believe that

Henreiquez-Disla is similar or analogous to this case, the Third Circuit’s resolution of that case

demonstrates that certification for interlocutory review is inappropriate here.

                                         CONCLUSION

       For the reasons stated above, the Court should deny Movants’ motions for reconsideration

and for certification under 28 U.S.C. § 1292(b).




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                             Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served upon counsel of

record for all parties via the Court’s ECF filing system on July 22, 2022.


                                       /s/ Jeffrey B. Jensen




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